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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CODY KING,                  )
                            )
     Plaintiff,             )
                            )              CIVIL ACTION
v.                          )
                            )                       1:21-cv-04688-LMM
                                           FILE No. _____________________
RAUNAK ENTERPRISES INC, and )
JUNE PROPERTIES INC,        )
                            )
     Defendants.            )

                                  COMPLAINT

      COMES NOW, CODY KING, by and through the undersigned counsel, and

files this, his Complaint against Defendants RAUNAK ENTERPRISES INC and

JUNE PROPERTIES INC pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendants’ failure to remove physical barriers to access and

violations of Title III of the ADA.

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       2.      Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

       3.      Plaintiff CODY KING (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Conyers, Georgia

(Rockdale County).

       4.      Plaintiff is a paraplegic and is disabled as defined by the ADA.

       5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.      Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.      Defendant RAUNAK ENTERPRISES INC (hereinafter “Raunak”) is

a Georgia corporation that transacts business in the state of Georgia and within this

judicial district.

       8.      Raunak is the lessee (or sub-lessee) of a portion of the real property

and improvements that are the subject of this action. (The contiguous, multi-tenant

structure and improvements situated upon said real property shall be referenced

herein as the “Facility,” and said real property shall be referenced herein as the

“Property”).


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       9.       Raunak may be properly served with process via its registered agent

for service, to wit: Lazarus Rebello, 2799 Plennie Lane, Lawrenceville, Georgia,

30044.

       10.      Defendant JUNE PROPERTIES INC (hereinafter “June”) is a Georgia

corporation that transacts business in the state of Georgia and within this judicial

district.

       11.      June is the owner (or co-owner) of the Facility and Property.

       12.      June may be properly served with process via its registered agent for

service, to wit: Kimberly Kline, 1465 Northside Drive, N.W., Suite 220-C, Atlanta,

Georgia 30318.

                             FACTUAL ALLEGATIONS

       13.      On or about September 21, 2021, Plaintiff was a customer at “Fritz

Food,” a business that operates within the Facility and upon the Property.

       14.      Plaintiff lives approximately four (4) miles from the Facility and

Property.

       15.      Plaintiff’s access to the businesses located at 3421 SE Highway 20,

Conyers, Georgia 30013 (Rockdale County Property Appraiser’s parcel number

078011019C), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein


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were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendants are compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      16.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      17.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      18.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      19.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      20.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

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      21.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      22.   The Facility is a public accommodation and service establishment.

      23.   The Property is a public accommodation and service establishment.

      24.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      25.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      26.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      27.   The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      28.   The Property must be, but is not, in compliance with the ADA and

ADAAG.


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      29.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      30.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      31.    Defendants have discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,


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services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      32.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      33.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The accessible parking space on the Property and its adjacent

             access aisle each have a slope and cross-slope in excess of 1:48

             (one to forty-eight), and are not level, in violation of section

             502.4 of the 2010 ADAAG standards.

      (ii)   The access aisle adjacent to the accessible parking space on the


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        Property also has significant amounts of broken pavement

        within its boundaries, resulting in numerous vertical rises in

        excess of ¼” (one quarter inch), in violation of section 502.4 of

        the 2010 ADAAG standards.

(iii)   The ground surfaces of the accessible route on the Property

        have vertical rises in excess of ¼” (one quarter inch) in height,

        and at certain points, in excess of 1” (one inch), have broken

        and unstable surfaces, in violation of section 403.2 of the 2010

        ADAAG standards.

(iv)    The operable parts on the fuel dispensers on the Property are at

        a height exceeding 54” (fifty-four inches) from the surface of

        the vehicular way, in violation of section 308.3.1 of the 2010

        ADAAG standards.

(v)     The ground surface within the required maneuvering clearances

        at the door to the entrance of the Fritz Food portion of the

        Facility has improper changes in level, in violation of section

        404.2.4.4 of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Fritz Food portion of the Facility has sales


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        and service counters and/or fixtures that are blocked, creating a

        forward reach of greater than 44” (forty-four inches), in

        violation of section 308.2.1 of the 2010 ADAAG standards.

(ii)    The Fritz Food portion of the Facility lacks restrooms signage

        that complies with sections 216.8 and 703 of the 2010 ADAAG

        standards.

(iii)   The restroom in the Fritz Food portion of the Facility lacks

        proper door hardware, in violation of section 404.2.7 of the

        2010 ADAAG standards.

(iv)    The door to the restroom in the Fritz Food portion of the

        Facility has a minimum clear width less than 32” (thirty-two

        inches), in violation of section 404.2.3 of the 2010 ADAAG

        standards.

(v)     The restroom in the Fritz Food portion of the Facility also does

        not provide for permissible width and minimum maneuvering

        clearance upon entry due to the clear width being blocked by a

        sink, in violation of sections 404.2.3 and 404.2.4 of the 2010

        ADAAG standards.

(vi)    There is inadequate clear turning space in the restroom in the


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             Fritz Food portion of the Facility, in violation of section 603.2.1

             of the 2010 ADAAG standards.

      (vii) The restroom in the Fritz Food portion of the Facility does not

             have grab bars adjacent to the commode therein, in violation of

             section 604.5 of the 2010 ADAAG standards.

      (viii) The soap dispenser in the restroom in the Fritz Food portion of

             the Facility is located outside the prescribed vertical reach

             ranges set forth in section 308.2.1 of the 2010 ADAAG

             standards.

      (ix)   The sink in the restroom in the Fritz Food portion of the

             Facility has exposed pipes and surfaces that are not insulated or

             configured to protect against contact with the skin, in violation

             of section 606.5 of the 2010 ADAAG standards.

      34.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to utilize the fuel pumps servicing the Property,

more difficult and dangerous for Plaintiff to travel upon the accessible routes on

the Property, more difficult for Plaintiff to enter and exit the Fritz Food portion of

the Facility, and render the restroom inaccessible to Plaintiff.

      35.    The Facility and Property have not been adequately maintained in


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operable working condition for those features of facilities and equipment that are

required to be readily accessible to and usable by persons with disabilities, in

violation of section 28 C.F.R. § 36.211.

      36.      Upon information and good faith belief, Defendants each fail to

adhere to a policy, practice and procedure to ensure that all features and facilities at

the Facility and Property are readily accessible to, and usable by, disabled

individuals.

      37.      The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      38.      Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      39.      The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      40.      All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.


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      41.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      42.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants have the financial resources to make the necessary

modifications.

      43.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      44.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      45.    Plaintiff’s requested relief serves the public interest.

      46.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendants.

      47.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees


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and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendants to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Raunak in violation of the ADA and ADAAG;

      (b)   That the Court find June in violation of the ADA and ADAAG;

      (c)   That the Court issue a permanent injunction enjoining Defendants

            from continuing their discriminatory practices;

      (d)   That the Court issue an Order requiring Defendants to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (e)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (f)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: November 12, 2021.

                                      Respectfully submitted,


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                                    /s/Craig J. Ehrlich
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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